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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   CAMDEN DIVISION

DENNIS MAURER, Individually,

               Plaintiff,

VS.
                                                      Case No.
WASHINGTON COMMONS
CONDOMINIUM ASSOCIATION, INC., a
New Jersey Non Profit Corporation,

               Defendant.
                                                /


                                          COMPLAINT

       Plaintiff, DENNIS MAURER, Individually, on his behalf and on behalf of all other mobility

impaired individuals similarly situated, (sometimes referred to as "Plaintiff’), hereby sues the

Defendant, WASHINGTON COMMONS CONDOMINIUM ASSOCIATION, INC., aNew Jersey

Non Profit Corporation, (sometimes referred to as "Defendant"), for Injunctive Relief, damages,

attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42
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U.S.C. § 12181 et       ("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).

1.     Plaintiff, Dennis Maurer, is an individual residing at 8 Prospect Ave, Egg Harbor Township,

       NJ 08234, in the County of Atlantic.

2.     Defendant, WASHINGTON COMMONS CONDOMINIUM ASSOCIATION, INC., is a

       New Jersey Corporation, which holds title to the subject property alleged by Plaintiff to be

       operating in violation of Title III of the ADA.

3.     Defendant’s property, Washington Commons, is located at 315 Ocean St., Cape May, NJ

       08204, in the County of Cape May.

4.     Venue is properly located in the District of New Jersey because venue lies in the judicial

       district of the property situs. The Defendant’s property is located in and does business within

      this judicial district.

5.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

      jurisdiction over actions which arise from the Defendant’s violations of Title III of the

      Americans with Disabilities Act, 42U.S.C, § 12181 et. See also 28 U.S.C. §2201 and

       § 2202.

6.    Plaintiff Dennis Maurer is a New Jersey resident, is sui juris, and qualifies as an individual

      with disabilities as defined by the ADA. Mr. Maurer has multiple sclerosis and is mobility

      impaired, and uses a wheelchair for mobility. Dennis Maurer has visited the subject

      shopping center, which forms the basis of this lawsuit, and plans to return to the subject

      property in the near future to avail himself of the goods and services offered to the public at

      the property. The Plaintiff has encountered architectural barriers at the subject property. The

      ADA violations and barriers to access at Washington Commons are more specifically set


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      forth in this Complaint. The barriers to access at the property have endangered his safety.

7.    Defendant owns, leases, leases to, or operates a place of public accommodation as defined

      by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

      Defendant is responsible for complying with the obligations of the ADA. The place of public

      accommodation that the Defendant owns, operates, leases or leases to is known as

      Washington Commons, and is located at 315 Ocean St., Cape May, NJ 08204.

8.    Dennis Maurer has a realistic, credible, existing and continuing threat of discrimination from

      the Defendant’s non-compliance with the ADA with respect to this property as described but

      not necessarily limited to the allegations in paragraph 10 of this complaint. Plaintiff has

      reasonable grounds to believe that he will continue to be subjected to discrimination in

      violation of the ADA by the Defendant. Dennis Maurer desires to visit the subject property

      not only to avail himself of the goods and services available at the property but to assure

      himself that this property is in compliance with the ADA so that he and others similarly

      situated will have full and equal enjoyment of the property without fear of discrimination.

9.    The Defendant has discriminated against the individual Plaintiff by denying him access to,

      and full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

      accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

10.   The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in

      violation of the ADA by failing to, inter alia, have accessible facilities by January 26, 1992

      (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000

      or less). A preliminary inspection of the Washington Commons has shown that violations

      exist. These violations that Dennis Maurer personally encountered or observed include, but


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      are not limited to:

      Parking and Exterior Accessible Route

      A.      Parking spaces throughout Washington Commons are not maintained; lack access
              aisles contain slopes and abrupt changes of level within the spaces, violating Sections
              502 and 502.4 of the 2010 Accessibility Standards. These conditions prevent Mr.
              Maurer and those in wheelchairs to unload from their vehicles freely and safely.

      B.      Curb ramps provided to access stores at Washington Commons are unsafe for
              wheelchair users and are not provided in some areas of the center. The curb ramps
              impede access aisles, contain abrupt changes of level, contain cross slopes and slopes
              beyond the limits, violating Sections 406 and 502.7 of the 2010 Accessibility
              Standards.

      C.      The exterior accessible route from parking spaces at Washington Commons fails to
              lead to ramps or curb ramps and was found to contain cross slopes and abrupt
              changes of level, those in wheelchairs can be harmed by these conditions, violating
              Sections 403.4 and 402 of the 2010 Accessibility Standards. A safe accessible route
              for Mr. Maurer is not provided throughout the plaza.

      D.      Washington Commons fails to provide a safe accessible route to the adjacent street
              or sidewalk, violating Section 206.2.1 of the 2010 Accessibility Standards.


11.   All of the foregoing violations are also violations of the 1991 Americans with Disabilities

      Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design, as

      promulgated by the U.S. Department of Justice.

12.   The discriminatory violations described in paragraph 10 are not an exclusive list of the

      Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of

      public accommodation in order to photograph and measure all of the discriminatory acts

      violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

      individuals similarly situated, have been denied access to, and have been denied the benefits

      of services, programs and activities of the Defendant’s buildings and its facilities, and have



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      otherwise been discriminated against and damaged by the Defendant because of the

      Defendant’s ADA violations, as set forth above. The individual Plaintiff, and all others

      similarly situated, will continue to suffer such discrimination, injury and damage without the

      immediate relief provided by the ADA as requested herein. In order to remedy this

      discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of

      public accommodation in order to determine all of the areas of non-compliance with the

      Americans with Disabilities Act.

13.   Defendant has discriminated against the individual Plaintiff by denying him access to full

      and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

      accommodations of its place of public accommodation or commercial facility in violation

      of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant

      continues to discriminate against the Plaintiff, and all those similarly situated by failing to

      make reasonable modifications in policies, practices or procedures, when such modifications

      are necessary to afford all offered goods, services, facilities, privileges, advantages or

      accommodations to individuals with disabilities; and by failing to take such efforts that may

      be necessary to ensure that no individual with a disability is excluded, denied services,

      segregated or otherwise treated differently than other individuals because of the absence of

      auxiliary aids and services.

14.   Plaintiff is without adequate remedy at law and is suffering irreparable harm. Considering

      the balance of hardships between the Plaintiff and Defendant, a remedy in equity is

      warranted. Furthermore, the public interest would not be disserved by a permanent

      injunction. Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s


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      fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28

      CFR 36.505.

15.   Defendant is required to remove the existing architectural barriers to the physically disabled

      when such removal is readily achievable for its place of public accommodation that have

      existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

      alteration to Defendant’s place of public accommodation since January 26, 1992, then the

      Defendant is required to ensure to the maximum extent feasible, that the altered portions of

      the facility are readily accessible to and useable by individuals with disabilities, including

      individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is

      one which was designed and constructed for first occupancy subsequent to January 26, 1993,

      as defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to and

      useable by individuals with disabilities as defined by the ADA.

16.   Notice to Defendant is not required as a result of the Defendant’s failure to cure the

      violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

      and gross receipts of $500,000 or less). All other conditions precedent have been met by

      Plaintiff or waived by the Defendant.

17.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

      Injunctive Relief, including an order to require the Defendant to alter the Washington

      Commons to make its facilities readily accessible and useable to the Plaintiff and all other

      persons with disabilities as defined by the ADA; or by closing the facility until such time as

      the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:


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      a.      The Court issue a Declaratory Judgment that determines that the Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq.

      b.      Injunctive relief against the Defendant including an order to make all readily

              achievable alterations to the facility; or to make such facility readily accessible to and

              usable by individuals with disabilities to the extent required by the ADA; and to

              require the Defendant to make reasonable modifications in policies, practices or

              procedures, when such modifications are necessary to afford all offered goods,

              services, facilities, privileges, advantages or accommodations to individuals with

              disabilities; and by failing to take such steps that may be necessary to ensure that no

              individual with a disability is excluded, denied services, segregated or otherwise

              treated differently than other individuals because of the absence of auxiliary aids and

              services.

      C.      An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

      d.      Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.

                                 COUNT II
           VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

18.   Plaintiff realleges all prior obligations as if fully set forth herein. Plaintiff repeats the

      allegations contained in all of the proceeding paragraphs.

19.   Defendant’s facility is a place of public accommodation as defined by N.J. S .A. 10:     55, (New



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       Jersey Law Against Discrimination).

20.    New Jersey law provides that all persons shall have the opportunity to obtain all the

       accommodations, advantages, facilities and privileges of any place of public accommodation

       without discrimination on the basis of disability. This opportunity is recognized and declared

       to be a civil right. (See, N.J.S.A. 10:5-4.)

21.    As a result of the aforementioned discrimination, Plaintiff Dennis Maurer has sustained

       emotional distress, mental anguish and suffering and humiliation, and other injuries, in

       violation of the New Jersey Law Against Discrimination.

       WHEREFORE, Dennis Maurer demands judgment for damages, attorneys’ fees, litigation

expenses, including expert fees and costs pursuant to the New Jersey Law Against Discrimination.

                                               Respectfully Submitted,

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                                               Date:’                    /

                                               Counsel for PiLtiff Dennis Maurer

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